Case No. 1:21-cv-01073-CMA-NRN Document 107 filed 12/14/23 USDC Colorado pg 1 of
                                     17




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

      Civil Action Number: 21-cv-01073-CMA-CPG

      THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck
      and Barbara G. Fleck,
      THE BARBARA G. FLECK REVOCABLE TRUST, through its Trustees, Aaron H.
      Fleck and Barbara G. Fleck,
      AARON FLECK, and BARBARA G. FLECK,

             Plaintiffs,
      v.

      FIRST WESTERN TRUST BANK
      CHARLES BANTIS, and
      ANDREW GODFREY

             Defendants.


           DEFENDANTS’ MOTION TO EXCLUDE THE OPINIONS OF PLAINTIFFS’
                        DAMAGES EXPERT, LARI MASTEN
Case No. 1:21-cv-01073-CMA-NRN Document 107 filed 12/14/23 USDC Colorado pg 2 of
                                     17




                                         INTRODUCTION

              The Court should exclude Lari Masten’s damages opinions under Federal

      Rule of Evidence 702 because they are not based on a sound methodology or the

      facts of this case. Masten is a forensic accountant who admits she is not an expert in

      portfolio management. Yet she created her own benchmarks of portfolio performance

      to measure the alleged shortcoming of First Western Trust Bank’s (“FWTB”)

      management of the Flecks’ accounts. Masten is unqualified to offer an opinion about

      account performance, and her proffered opinion on this topic is irrelevant because it

      uses benchmarks that are inconsistent with how FWTB was required to invest the

      Flecks’ funds under the Investment Policy Statement (“IPS”).

              The Court also should exclude Masten’s opinions regarding the lost equity

      value allegedly resulting from FWTB’s failure to harvest tax losses. These opinions

      imagine a hypothetical and irrelevant counterfactual: What if, on December 3, 2018,

      FWTB had harvested all of the Flecks’ losses from the stock market, held all the

      proceeds in cash equivalents for the next 30 days, and then repurchased the original

      securities 31 days later? These opinions are unhelpful and unreliable because there

      is no basis for (1) using December 3 as the date for capturing losses, or (2) imagining

      FWTB would deviate from standard practice by holding stock market proceeds in cash

      equivalents for 30 days instead of reinvesting them in other securities.1 Because there

      is no basis in the case for these assumptions, her opinions should be excluded.

               With five years of hindsight, the motivation behind Masten’s hypothetical


      1 Consistent with Masten’s lack of expertise, the source of her 30-day reinvestment

      timeline is the IRS’s “wash sale” rule, IRS Pub 550, which prohibits an investor from
      selling a security to realize a tax loss and immediately reinvesting the proceeds in a
      “substantially identical” security. The rule, however, does not require investors to hold
      cash for 30 days. It permits immediate reinvestment in different securities.

                                                 1
Case No. 1:21-cv-01073-CMA-NRN Document 107 filed 12/14/23 USDC Colorado pg 3 of
                                     17




      exercise is clear. There was a brief market slump between December 3, 2018, and

      January 3, 2019, so that anyone holding cash for those specific 30 days could

      purchase the same securities at a discount before the prices rebounded in early

      January. The Court should not permit Masten to offer an irrelevant opinion about how

      much more money FWTB could have made for the Flecks had it predicted the

      December 2018 market slump and held a large portion of the Flecks’ funds in cash

      that month. There is no claim in the case about FWTB’s failure to predict the market’s

      ups and downs. While all of Masten’s opinions are unhelpful and unreliable as set forth

      below, at the very most, Masten should be permitted to testify about the additional tax

      burden the Flecks could have incurred due to FWTB’s alleged failure to realize

      additional losses (opinions 1 and 2), which she opines was approximately $36,000.2

                                             FACTS

      I.    Background

              In May 2018, the Flecks opened two new accounts with FWTB to invest

      approximately $8 million. Doc. 106 at 5. The Flecks and FWTB met to discuss the

      Flecks’ investment goals and risk tolerance, and together entered into the IPS, which

      outlined the categories in which the funds would be invested (e.g., large, medium and

      small cap stocks, fixed income, international equities, alternatives and cash), and

      tailored the investment allocations within each category to the Flecks’ risk tolerance

      and return objectives. See Ex A., Masten Report, ¶¶ 23, 72-73. The Flecks desired a

      moderate investment strategy with a long-term (10+ year) returns of 6.48% and

      $500,000 in annual cash flows. Doc. 18, ¶¶ 24, 33; Ex A., Masten Report, ¶ 23.


      2 Counsel for Defendants made a good faith effort to confer with counsel for Plaintiffs

      regarding this motion on December 7 and December 11, 2023 by email. Counsel for
      Plaintiffs did not respond to Defendants’ conferral attempts.

                                                2
Case No. 1:21-cv-01073-CMA-NRN Document 107 filed 12/14/23 USDC Colorado pg 4 of
                                     17




              Between May and December 2018, FWTB closed out certain portfolio

      positions for the Flecks at a loss. When that occurred, FWTB reinvested the proceeds

      in other securities instead of “sitting” on the cash. Ex. B, Masten Dep. 116:3-12,

      174:19-22.

               As pleaded, in December 2018, Mr. Fleck “realized there were major losses

      in both Trust portfolios in excess of $500,000. At that time, Aaron Fleck instructed

      FWTB to harvest the losses to offset other gains he had realized on other personal

      transactions.” Doc. 18, ¶ 48 (emphasis added). FWTB disputes that Mr. Fleck gave

      this instruction. Even Mr. Fleck agrees, however, he did not instruct FWTB on what to

      do with the proceeds from harvesting tax losses. Ex. C, Fleck Dep. 100:2-5; Ex. B,

      Masten Dep. 40:23-41:9, 174:3-8. FWTB could decide how to invest the proceeds. Ex.

      B, Masten Dep. 174:15-18. Ultimately, the Flecks closed their account after one year.

      II.    Masten’s Qualifications

              Masten holds a dual undergraduate degree in electrical engineering and

      secondary education, with a master’s degree in accounting. Ex. B, Masten Dep. 10:18-

      12:7. Her company, Masten Valuation, is an expert witness firm that practices in the

      areas of damages, forensic accounting, and business valuation. Id. at 8:11-25, 10:12-

      17. Masten seeks to testify on behalf of the Flecks as a damages expert, not a liability

      expert. Id. at 22:17-19, 27:16-23, 38:15-19.

              Masten is not a licensed or registered investment advisor. Id. at 39:3-8. She

      has never worked for a wealth management firm or an investment advisory firm, and

      she lacks the required licenses and certifications to be an advisor. Id. at 35:25-36:16.

      By Masten’s own admission, she is not qualified to serve as an expert witness on

      investment strategy or how to manage investment portfolios. Id. at 39:25-40:12, 43:4-



                                                 3
Case No. 1:21-cv-01073-CMA-NRN Document 107 filed 12/14/23 USDC Colorado pg 5 of
                                     17




      21, 120:17-18, 134:5-6, 163:4-5, 186:5-7.

      III.        Masten’s Opinions

                   Masten offers damages opinions related to the Flecks’ claims concerning both

      tax loss harvesting and portfolio management. Her opinions concern: (1) the value of

      unharvested tax losses; (2) the loss of tax shield against the Flecks’ income; (3) the

      “point-in-time” loss of equity value as of January 3, 2019; (4) the “point-in-time” loss of

      equity value as of February 6, 2019; (5) the “point-in-time” loss of equity value as of

      May 13, 2019; (6) the loss in value of the portfolios based on “shortcomings” in

      performance; and (7) calculating management fees incurred. Ex A., Masten Report,

      pp. 6-7.

             A.    Measuring Portfolio Performance

                   Masten purports to calculate damages by comparing the actual portfolio

      performance over one year with a hypothetical allocation of a 100% investment in the

      U.S. large cap S&P 500 index. Id., ¶¶ 81, 83. Such an allocation, however, would

      violate the parties’ contractually agreed portfolio allocation in the IPS, which limited

      the U.S. large cap allocation to a maximum of 28%, and also mandated minimum

      allocations into fixed income (at least 39%) and international equities (at least 2%).

      See id., ¶ 73. Masten also purports to measure the portfolio’s performance over one

      year against the IPS’s projected long-term return over 10+ years. Id., ¶¶ 23, 81, 83.

             B.    Masten’s “Cash” Reinvestment Strategy

                   Masten’s other damages opinions rely on an extremely narrow set of

      assumptions that are inconsistent with the record evidence. First, Masten assumes

      that FWTB would have harvested all available tax losses on the highly specific date of

      December 3, 2018, and not on any other day in November or December 2018. Id., pp.



                                                    4
Case No. 1:21-cv-01073-CMA-NRN Document 107 filed 12/14/23 USDC Colorado pg 6 of
                                     17




      6-7, 11-13. Second, Masten assumes that FWTB would have: (1) harvested the losses

      from stocks, pooled equity funds, and an ETF; (2) reinvested the proceeds in low-

      interest cash equivalents—not other securities; and then (3) repurchased the identical

      stocks, pooled equity funds, and ETF exactly 31 days later in identically weighted

      amounts. Id., p. 13 & Schedules 1, 7a, 7b.

              Masten did not perform this exercise based on any established investment

      strategy. That is, she did not consider how an actual investment advisor would reinvest

      the proceeds of the sales, including by strategically reinvesting the proceeds

      immediately in a similar (or different) type of security, which would not trigger the IRS’s

      “wash sale” rule. Ex. B, Masten Dep. 44:3-22. Masten also has “no evidence” that Mr.

      Fleck instructed FWTB to hold the proceeds in cash as opposed to reinvesting them

      in a similar security. Id. at 41:12-17. Indeed, Masten “cannot point to a text or a

      resource that said, Lari Masten, do your damages this way.” Id. at 47:6-19.

              Masten admits she is not an expert on whether it is more appropriate to hold

      sale proceeds in cash or to reinvest them, id. at 43:4-21, but nevertheless bases her

      damages on her own assumption FWTB would have chosen to hold the proceeds

      entirely in cash. Masten is not, however, aware of any instance in which FWTB ever

      sold securities for a loss and then sat on the cash for 30 days before reinvesting like

      this. Id. at 75:14-18, 118:11-119:3. On the contrary, Masten concedes that, on a

      regular basis, FWTB would immediately reinvest the proceeds of unrealized losses in

      other securities instead of sitting on the cash. Id. at 61:4-10, 116:3-12. In fact, Masten

      expects that investing in equities would generally perform better than investing in cash,

      id. at 162:12-17, making it implausible that FWTB would choose this option.

              The Flecks’ own liability expert, Joseph Rulison, favored taking advantage of



                                                  5
Case No. 1:21-cv-01073-CMA-NRN Document 107 filed 12/14/23 USDC Colorado pg 7 of
                                     17




      the market during the 30-day hiatus through investing in different securities, perhaps

      in the same industry, or through investing in ETFs or mutual funds. Ex. D, Rulison

      Dep. 78:8-79:14, 103:12-105:15. This strategy is consistent with Mr. Fleck’s own

      experience as a former portfolio manager. Ex. C, Fleck Dep. 61:20-23 (“Well, usually,

      if they sold a security, they would buy a similar security, maybe the same field, maybe

      in another field and that security will probably go up more than had he kept it.”).

              Masten rejected these reasonable and preferred strategies and imputed to

      FWTB only the cash option. She did not even bother to analyze the other options

      because it was easier for her to analyze damages this way. Notwithstanding the record

      evidence, she claims “it would have been pure speculation for me to say they would

      have been reinvested in different securities or different equity funds.” Ex. B, Masten

      Dep. 49:8-11. In Masten’s mind, her cash model is speculative, but the “least

      speculative.” Id. at 73:19-74:7. But she is demonstrably wrong. FWTB’s expert had no

      difficulty modelling damages in the scenario where FWTB sold the Fleck securities

      and reinvested in similar securities, as it had done previously for the Flecks. See Ex.

      E, Ahern Rebuttal Report, ¶ 66.

         C.   Masten’s Selection of a December 3 Tax Loss Harvesting Date

              Masten selected December 3 for harvesting tax losses. The First Amended

      Complaint (“FAC”) implausibly contends Mr. Fleck instructed FWTB to sell and capture

      losses on December 2, 2018, a Sunday. Doc. 18, ¶ 48. Undeterred by Mr. Fleck’s

      allegation, Masten has deviated from the pleadings and assumed that “the directive to

      harvest the losses for tax purposes would have been late November 2018.” Ex A.,

      Masten Report, ¶ 28. Mr. Fleck testified, however, that “the first time I noticed tax

      losses was in late November or December.” Ex. C, Fleck Dep. 82:20-23. He never



                                                 6
Case No. 1:21-cv-01073-CMA-NRN Document 107 filed 12/14/23 USDC Colorado pg 8 of
                                     17




      says he gave the instruction to FWTB in that time period, yet Masten bases her

      selection of December 3 on conflating Mr. Fleck’s first observation of losses in the

      account with him instructing FWTB to capture them. He claims he delivered the

      instruction during a meeting with multiple employees of FWTB, but he can’t pinpoint

      when that meeting happened. Id. at 85:1-10. On summary judgment, it was undisputed

      that Mr. Fleck met with FWTB on November 6, 2018 and “throughout” December 2019.

      Doc. 86, ¶ 40; Doc. 93, ¶ 40. There is no evidence of an intervening “late November”

      meeting date between November 6 and Sunday, December 2, so there is no basis for

      using December 3 as the day on which FWTB would have sold in response to

      instructions from Mr. Fleck.

              The Flecks allege that Mr. Fleck gave the instruction because he noticed

      losses of approximately $500,000. Doc. 18, ¶ 48. During his deposition, Mr. Fleck

      contended the operative losses that caused him to instruct the bank to sell were

      $575,000. Ex. C, Fleck Dep. 85:11-20. Masten chose December 3 based on her belief

      that Mr. Fleck directed FWTB to harvest tax losses based on his October 2018 portfolio

      statements “given the ranges of losses he described in his deposition.” Ex A., Masten

      Report, ¶ 27. The October 2018 portfolio reflects losses of $302,585, not $575,000.

      Ex. E, Ahern Rebuttal Report, ¶ 52.3 Apparently realizing that December 2 was a

      Sunday when no meeting was held, Masten assumes that, “reasonably speaking, Mr.

      Fleck received these statements in the first few weeks of November. Thanksgiving fell

      on November 22nd in 2018, the third, full week of the month, so the meeting was likely

      the last week of November 2018.” Report, ¶ 27; see also Ex. B, Masten Dep. 32:14-


      3 The only point from October through December at which the portfolio had close to

      $500,000 of losses potentially available for harvesting was in late December 2018, not
      on or before December 3, 2018. Ex. E, Ahern Rebuttal Report, ¶ 52.

                                                7
Case No. 1:21-cv-01073-CMA-NRN Document 107 filed 12/14/23 USDC Colorado pg 9 of
                                     17




      19. Instead of using any day that week, “given the . . . Thanksgiving holidays”—which

      had already occurred on November 22—"all of those elements, December 3rd is the

      first business day, Monday, following all of that, that that would have been a

      reasonable enough amount of time for them to execute his wishes.” Ex. B, Masten

      Dep. 34:1-5.

              Masten claims she did not perform full modeling for any other date in

      December—only December 3. Ex. B, Masten Dep. 29:5-30:8, 31:2-8; see also 122:19-

      23. Coincidentally, December 3 happens to be the date in December that yields the

      highest “point-in-time” lost equity value under Masten’s hypothetical cash investment

      exercise. Ex. E, Ahern Rebuttal Report, ¶¶ 54-55.

              By imagining FWTB would have parked the proceeds in cash for 30 days on

      December 3 instead of reinvesting in other securities, Masten’s model manufactures

      special purchasing power to repurchase the identical weighted distribution of identical

      securities at a discount in early January before prices rebounded. See Ex A., Masten

      Report, Schedule 3. In fact, Masten’s hand-selected December 3 date not only

      happens to be the “highest value” harvesting date for Plaintiffs, but it is in the minority

      of dates that result in any damages at all. Ex. E, Ahern Rebuttal Report, ¶ 56. Of the

      19 total trading days in December, only six harvesting days would even result in

      damages. Id.

                                        LEGAL STANDARD

              Rule 702 imposes a “gatekeeper obligation” on district courts to ensure that

      all expert testimony or evidence admitted is “not only relevant, but reliable.” Daubert

      v. Merrell Dow Pharms., Inc., 509 U.S. 579, 589 (1993). District courts follow a two-

      step analysis. Roe v. FCA US LLC, 42 F.4th 1175, 1180 (10th Cir. 2022). First, the



                                                  8
Case No. 1:21-cv-01073-CMA-NRN Document 107 filed 12/14/23 USDC Colorado pg 10 of
                                     17




      Court must determine whether the expert is “qualified by ‘knowledge, skill, experience,

      training, or education’ to render an opinion.” Id. (citing Fed. R. Evid. 702). Second, if

      the expert is qualified, the Court must determine whether the opinions are reliable

      under the principles set forth in Daubert. Id. The burden of proof rests with the

      proponent of the expert. See Fed. R. Evid. 702.

                                           ARGUMENT

      I.     Masten Is Not Qualified to Measure the Relative Performance of the
             Flecks’ Investment Portfolio and Uses Irrelevant Benchmarks to Measure
             Performance.

              “Nothing in either Daubert or the Federal Rules of Evidence requires a district

      court to admit opinion evidence which is connected to existing data only by the ipse

      dixit of the expert.” General Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997). Here,

      Masten is not qualified by “knowledge, skill, experience, training, or education” to

      provide opinions on portfolio management or investment strategy. Fed. R. Evid. 702.

      She fully concedes this point. See Ex. B, Masten Dep. 39:25-40:3 (admitting she is not

      qualified to be an expert witness on “how to manage investment portfolios”); id. at

      120:17-18 (“I don’t consider myself to be an expert in investment advisory.”); id. at

      163:4-5 (“I am not in a position to – to give opinions on First Western’s investment

      style.”); id. at 186:5-8 (admitting she is “not an expert in portfolio management”).

              In Opinion 6, however, Masten purports to measure damages for the alleged

      “shortcoming” of the Flecks’ portfolio. Ex A., Masten Report, ¶ 11. Implicit in any such

      opinion is the need, and Masten’s ability, to select an appropriate benchmark to

      measure performance. See, e.g., In re Executive Telecard, Ltd. Secs. Litig., 979 F.

      Supp. 1021, 1027 (S.D.N.Y. 1997) (striking expert opinion as unreliable for lack of a

      “precisely correlated portfolio of securities”). Consistent with her lack of expertise,



                                                 9
Case No. 1:21-cv-01073-CMA-NRN Document 107 filed 12/14/23 USDC Colorado pg 11 of
                                     17




      Masten claims she is not providing opinions on “appropriate benchmarks for

      measuring performance returns in investment portfolios.” Ex. B, Masten Dep. 38:20-

      23. She admits: “I would probably not be the best person to be giving opinions on what

      an investment advisor is supposed to do or the benchmarks that they are supposed to

      use.” Id. at 39:12-15.

              Nevertheless, to generate her damages opinion, Masten picked two

      benchmarks: (1) the S&P 500’s performance during the same timeframe, and (2) the

      IPS’s target long-term return over 10+ years. Id. at 179:4-9. These comparisons are

      inapposite. The parties’ IPS prohibits the first approach. Aside from providing “target”

      allocations, the IPS required FWTB to invest no more than 28% of the account in large

      cap equities—which is the sole asset type in the S&P 500—and to invest at least 41%

      of the portfolio in fixed income (39%) and international equities (2%). Ex A., Masten

      Report, ¶ 73. Next, Masten compares a single year’s performance against the IPS’s

      long-term return target over a 10+ year horizon. Id., ¶ 23. That is not the relevant

      comparison and would not be helpful to the finder of fact.

              These two benchmarks did not come from the proffered liability experts. Ex.

      B, Masten Dep. 180:3-9, 181:15-183:11. Instead, Masten admits she “picked those

      benchmarks even though [she] already said that [she’s] not an expert in identifying

      what benchmarks are appropriate for investment portfolios.” Id. at 179:16-20.

              As a result, there is no competent evidence that establishes the appropriate

      benchmarks for Masten to measure the Flecks’ portfolio performance to properly

      calculate damages. Accordingly, the Court should exclude Opinion 6.




                                                10
Case No. 1:21-cv-01073-CMA-NRN Document 107 filed 12/14/23 USDC Colorado pg 12 of
                                     17




      II.    Masten’s Opinions Are Unhelpful and Unreliable Because of Her
             Unsupported Assumption that FWTB Would Have Reinvested the Sale
             Proceeds from Tax Loss Harvesting in Cash Equivalents Instead of Other
             Securities.

              Daubert’s “gatekeeper function requires the judge to assess the reasoning

      and methodology underlying the expert’s opinion, and determine whether it is both

      scientifically valid and applicable to a particular set of facts.” Dodge v. Cotter Corp.,

      328 F.3d 1212, 1221 (10th Cir. 2003). An expert opinion must be “based on sufficient

      data, sound methods, and the facts of the case.” Roe, 42 F.4th at 1181. Furthermore,

      “[u]nder Daubert, any step that renders the analysis unreliable . . . renders the expert’s

      testimony inadmissible.” Dodge, 328 F.3d at 1222 (internal quotation omitted).

              Here, Masten’s damages opinions rest on a highly specific, narrow

      assumption: that, on December 3, 2018 (not any other date), FWTB would have

      liquidated the Flecks’ positions in various stocks, pooled equity funds, and an ETF,

      reinvested those proceeds in cash equivalents for the next 30 days, and then

      repurchased the original securities in identical weighted amounts 31 days later. The

      key assumptions underlying Masten’s opinion have no basis in the record.

              Masten’s damages opinion rests upon an unsupported and impermissible

      assumption about a unique investment strategy beyond the scope of her expertise as

      a forensic accountant. For the reasons set forth above, Masten is not qualified by

      “knowledge, skill, experience, training, or education” to provide an opinion on

      appropriate investment strategy. Fed. R. Evid. 702; see Ex. B, Masten Dep. 39:25-

      40:12, 120:17-18, 134:5-6, 163:4-5, 186:5-8.

             A.     Mr. Fleck and Plaintiff’s Expert Do Not Provide the Basis for
                    Masten’s Assumptions on Investment Strategy.

              If Masten is unqualified to furnish this assumption herself, Daubert requires



                                                 11
Case No. 1:21-cv-01073-CMA-NRN Document 107 filed 12/14/23 USDC Colorado pg 13 of
                                     17




      the assumption to come from another valid source. But Masten’s assumed investment

      strategy has no basis in expert testimony. The Flecks’ other expert, Joseph Rulison,

      did not disclose such an opinion. In fact, when asked about wash sales, Rulison

      explained that, in most cases, clients invest in a different security, maybe in the same

      industry to maintain a roughly equivalent position. Ex. D, Rulison Dep. 78:8-79:14. If

      the client wants to buy back the same security, to avoid missing out on upside risk

      over the next 30 days, he recommended investments in ETF and mutual funds to

      continue participating in the market. Id. at 103:12-105:15. Had FWTB done what this

      other Fleck expert says is customary, Masten’s damages model has no application.

             B.     Masten’s Assumption Is a Counterfactual Inconsistent With
                    FWTB’s Practices and the Flecks’ Allegations.

              The other evidence does not support this assumption either because it

      confirms FWTB’s standing practice with the Flecks’ portfolio was to reinvest proceeds

      from losses in other securities, not hold cash. Ex. B, Masten Dep. 61:4-10, 75:14-18,

      116:3-12, 118:11-119:3. Furthermore, even accepting arguendo Mr. Fleck’s (heavily

      disputed) claim that he instructed FWTB to harvest losses, Mr. Fleck did not instruct

      FWTB to invest the proceeds in cash equivalents and repurchase the same securities

      31 days later. Ex. C, Fleck Dep. 100:2-5; Ex. B, Masten Dep. 40:23-41:9, 174:3-8,

      174:5-18.

              Masten’s thought exercise deviates from the Flecks’ own theory of the case,

      and measures damages for a claim not pleaded about predicting market timing.

      Indeed, Masten’s entire model is a counterfactual because Mr. Fleck was supposedly

      dissatisfied with the performance of his portfolio. Masten’s unique strategy represents

      a decision to forgo any potential upside in the market for 30 days to reinvest in the

      same securities. These were the securities resulting in losses to the Flecks. If they


                                                12
Case No. 1:21-cv-01073-CMA-NRN Document 107 filed 12/14/23 USDC Colorado pg 14 of
                                     17




      were dissatisfied and believed other securities would perform better, it would make

      sense to shift away, not double down by holding cash to reinvest in the same ones.

              Masten apparently attempts to use the IRS’s wash sale rule as a pretext for

      her model. Masten’s fixation with that rule is a red herring because the IRS rule does

      not command that the client sit in cash for 30 days or repurchase of the identical

      security 31 days later. There are virtually infinite options, including investing in any

      other security, subject to limitations in the IPS, as long as it is not substantially

      identical. Cf. Roe, 42 F.4th at 1182-83 (expert failed to establish that scenario was

      “highly probable”). The IRS rule only exists to prevent investors, as a matter of

      fairness, from harvesting a loss for tax purposes and then reinvesting the proceeds

      immediately in the same (or substantially identical) security to enjoy the full upside.

      Masten did not consider standard industry investment strategies, much less

      demonstrate that this unique and undesirable strategy is highly probable. She made it

      up. The only evidence is that this strategy is highly unlikely.

         C. Masten’s Assumption Is Speculative and Subject to Hindsight Bias.

              In the end, Masten, the non-expert, concedes that her investment strategy is

      speculative, but claims that it is the “least speculative.” This is not only wrong, but

      insufficient. See Dodge, 328 F.3d at 1222 (a reliable opinion must be “based on actual

      knowledge, not subjective belief or unsupported speculation”). What Masten really

      means that it was the easiest calculation for her, as a damages expert, because the

      Flecks have failed to develop evidence about reinvesting the tax losses consistent with

      FWTB’s existing practices. As a result, Masten took the easy way out and dumped all

      the proceeds into cash. Easiness is not a substitute for soundness under Rule 702.

              The true goal of Masten’s model is to exploit hindsight bias. Five years later,



                                                 13
Case No. 1:21-cv-01073-CMA-NRN Document 107 filed 12/14/23 USDC Colorado pg 15 of
                                     17




      we know that the per-share price of the relevant securities, as a group, had temporarily

      decreased 30 days after December 3 and then rebounded before the Flecks

      transferred their account. See Ex A., Masten Report, Schedule 3.4 By pretending

      FWTB would have reinvested in cash instead of reinvesting in similar (or different)

      securities, Masten engineers a special “point in time” scenario with the unique ability

      to use the stability of cash to purchase, at a discount, the same amounts of the same

      securities. This is an irrelevant and unreliable damages model that is not grounded in

      the evidence or the Flecks’ claims. Thus, Opinions 1 through 5 should be excluded.

      III.   Masten’s Selection of December 3 for Harvesting Tax Losses Is
             Unsupported by the Evidence.

              Masten’s opinions are also unreliable because there is no evidentiary basis

      for selecting December 3 as the date for FWTB to harvest tax losses. Courts properly

      strike an expert opinion if “there is simply too great an analytical gap between the data

      and the opinion proffered.” Roe, 42 F.4th at 1181 (quoting Joiner, 522 U.S. at 146).

              Masten’s selection of this date is a seemingly unexplainable fiction—except

      that it happens to generate the most alleged damages for the Flecks. The implausible

      allegation in the FAC—that Mr. Fleck instructed FWTB to harvest tax losses on

      Sunday, December 2—is not evidence. In fact, Masten has not assumed that

      unfounded allegation is true. Mr. Fleck does not claim he sent the alleged instruction

      in writing. Ex. C, Fleck Dep. 84:20-25. Instead, he claims that it occurred during a

      meeting with multiple employees of FWTB. Id. at 85:1-10. The only potential meetings

      occurred on November 6 and “throughout” December. Doc. 86, ¶ 40; Doc. 93, ¶ 40.


      4
       As shown in Masten’s report, between December 3 and January 3, 15 of 16 securities’
      prices dropped, while only one increased. But between December 3 and February 6,
      only 8 prices dropped, 8 prices increased (sometimes significantly), and many of these
      price movements remained relatively flat.

                                                 14
Case No. 1:21-cv-01073-CMA-NRN Document 107 filed 12/14/23 USDC Colorado pg 16 of
                                     17




      But Mr. Fleck claims he first “noticed” the tax losses in late November or December,

      Ex. C, Fleck Dep. 82:20-23, thereby eliminating November 6 and leaving the possibility

      of only December meetings. Mr. Fleck also claims that the amount of losses he

      “noticed” was $500,000 or more, indicating late December. Ex. E, Ahern Rebuttal

      Report, ¶ 53.

              Instead of adhering to the evidence, Masten has assumed that Mr. Fleck gave

      the instruction on an unspecified date in “late November,” and more specifically during

      the last week of November. Ex A., Masten Report, ¶¶ 27-28; Ex. B, Masten Dep. 32:14-

      19. There is no evidentiary support for any such meeting on that date. Using that

      fictional meeting Masten—who has no experience working in this industry—has

      decided on, in her mind, a “reasonable enough amount of time” for FWTB to carry out

      that instruction, landing on December 3 instead of any prior day in late November or

      any other day throughout December because it “made sense to me”. Ex. B, Masten

      Dep. 32:14-19, 34:1-5.

              The “analytical gap” is stark. Masten’s opinions consist of searching for a way

      to back into the desired December 3 date instead of following the evidence.

      Accordingly, Opinions 1 through 5 should be stricken on this basis as well.

         IV. Masten’s Calculation of Fees Does Not Assist the Jury.

              Finally, Masten’s Opinion 7 is nothing more than an arithmetical calculation of

      the fees charged the Flecks’ accounts based on undisputed documentary evidence.

      The parties agree on the final amount. See Doc. 86 at 11. Expert testimony is

      unnecessary to “help” the jury perform straightforward addition.

                                         CONCLUSION

              The Court should exclude the opinions of Plaintiffs’ expert, Lari Masten.



                                                15
Case No. 1:21-cv-01073-CMA-NRN Document 107 filed 12/14/23 USDC Colorado pg 17 of
                                     17




             Dated: December 14, 2023

                                             /s/ Timothy R. Beyer
                                             BRYAN CAVE LEIGHTON PAISNER LLP
                                             Timothy R. Beyer
                                             Adam B. Stern
                                             1700 Lincoln Street, Suite 4100
                                             Denver, CO 80203
                                             Telephone: (303) 861-7000
                                             tim.beyer@bclplaw.com
                                             adam.stern@bclplaw.com

                                             Attorneys for Defendants First Western
                                             Bank, Charles Bantis, and Andrew Godfrey


                                 CERTIFICATE OF SERVICE

             The undersigned hereby certifies that on this 14th day of December, 2023 a
      true and correct copy of DEFENDANTS’ MOTION TO EXCLUDE THE OPINIONS
      OF PLAINTIFFS’ DAMAGES EXPERT, LARI MASTEN was filed and served using
      the CM/ECF system, on the following:

      PODOLL & PODOLL, P.C.
      Richard B. Podoll
      rich@podoll.net
      Robert Kitsmiller
      bob@podoll.net
      Jacqueline E. Hill
      jacqui@podoll.net

      Attorney for Plaintiffs


                                             /s/ Timothy R. Beyer
                                             Timothy R. Beyer




                                              16
